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 7   Attorneys for Defendant Sunrun Inc.

 8

 9                                 UNITED STATES DISTRICT COURT

10                              NORTHERN DISTRICT OF CALIFORNIA

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12   Shatri Sion, individually and on behalf of all   Case No. 3:16-cv-05834-JST
     others similarly situated,
13                                                    STIPULATION OF DISMISSAL
                            Plaintiff,
14                                                    JUDGE: Honorable Jon S. Tigar
            v.
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     Sunrun Inc., and LGCY Power, LLC,
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                            Defendants
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     STIPULATION OF DISMISSAL
     CASE NO. 3:16-CV-05834-JST
     sf-3757165
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 1          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Shatri Sion and

 2   Defendant Sunrun Inc., by and through their undersigned counsel, stipulate to dismiss this action

 3   as to Defendant Sunrun Inc. in its entirety. The claims alleged on behalf of Plaintiff Shatri Sion

 4   against Defendant Sunrun Inc. shall be dismissed with prejudice. The claims on behalf of the

 5   putative class members are dismissed without prejudice. Each party shall bear his or its own

 6   costs and expenses, including attorneys’ fees.

 7   Dated: April 10, 2017                         JAMES F. MCCABE
                                                   ANGELA E. KLEINE
 8                                                 SARAH N. DAVIS
                                                   MORRISON & FOERSTER LLP
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10                                                 By:    /s/ Sarah N. Davis
                                                          Sarah N. Davis
11
                                                          Attorneys for Defendant
12                                                        SUNRUN INC.
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14
     Dated: April 10, 2017                         ABBAS KAZEROUNIAN, ESQ.
15
                                                   KAZEROUNI LAW GROUP, APC
16
                                                   JOSHUA B. SWIGART, ESQ.
17                                                 SARA F. KHOSROABADI
                                                   HYDE & SWIGART
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19                                                 By:    /s/ Sara F. Khosroabadi
                                                          Sara F. Khosroabadi
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                                                          Attorneys for Plaintiff
21                                                        SHATRI SION
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     STIPULATION OF DISMISSAL
     CASE NO. 3:16-CV-05834-JST
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 1                                        ECF ATTESTATION

 2           I, Sarah N. Davis, am the ECF User whose ID and Password are being used to file this:

 3           STIPULATION OF DISMISSAL

 4           In compliance with Civil L. R. 5.1, I hereby attest that Sara F. Khosroabadi concurred in

 5   this filing.

 6   Dated: April 10, 2017                          MORRISON & FOERSTER LLP
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 8                                                  By:   /s/ Sarah N. Davis
                                                            SARAH N. DAVIS
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     STIPULATION OF DISMISSAL
     CASE NO. 3:16-CV-05834-JST
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